Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 1 of 28. PageID #: 336353




       PSJ4 SOL Opp Exh 25
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 2 of 28. PageID #: 336354



                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


IN RE NATIONAL PRESCRIPTION                   MDL No. 2804
OPIATE LITIGATION
                                              Case No. 17-md-2804
This document relates to:
                                              Judge Dan Aaron Polster
Case No. 17-OP-45004 (N.D. Ohio)

THE COUNTY OF CUYAHOGA, OHIO, and
STATE OF OHIO EX REL., PROSECUTING
ATTORNEY OF CUYAHOGA COUNTY,                    PLAINTIFFS THE COUNTY OF
MICHAEL C. O’MALLEY,                            CUYAHOGA, OHIO AND THE STATE
                                                OF OHIO EX REL. PROSECUTING
                                                ATTORNEY OF CUYAHOGA
                            Plaintiffs,         COUNTY, MICHAEL C. O’MALLEY’S
                                                FIRST AMENDED RESPONSES AND
       vs.                                      OBJECTIONS TO DISTRIBUTOR
                                                DEFENDANTS’ FIRST SET OF
PURDUE PHARMA L.P., PURDUE                      INTERROGATORIES
PHARMA INC., THE PURDUE FREDERICK
COMPANY, INC., ENDO HEALTH
SOLUTIONS INC., ENDO
PHARMACEUTICALS, INC., JANSSEN
PHARMACEUTICALS, INC., JANSSEN
PHARMACEUTICA, INC. n/k/a JANSSEN
PHARMACEUTICALS, INC., NORAMCO,
INC., ORTHO-MCNEIL-JANSSEN
PHARMACEUTICALS, INC. n/k/a JANSSEN
PHARMACEUTICALS, INC., JOHNSON &
JOHNSON, TEVA PHARMACEUTICAL
INDUSTRIES LTD., TEVA
PHARMACEUTICALS USA, INC.,
CEPHALON, INC., ALLERGAN PLC f/k/a
ACTAVIS PLC, ALLERGAN FINANCE LLC,
f/k/a ACTAVIS, INC., f/k/a WATSON
PHARMACEUTICALS, INC., WATSON
LABORATORIES, INC., ACTAVIS LLC,
ACTAVIS PHARMA, INC. f/k/a WATSON
PHARMA, INC., INSYS THERAPEUTICS,
INC., MALLINCKRODT PLC,
MALLINCKRODT LLC, CARDINAL
HEALTH, INC., McKESSON


                                          1
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 3 of 28. PageID #: 336355
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


CORPORATION, AMERISOURCEBERGEN
CORPORATION, HEALTH MART
SYSTEMS, INC., H. D. SMITH, LLC d/b/a
HD SMITH, f/k/a H.D. SMITH
WHOLESALE DRUG CO., H. D. SMITH
HOLDINGS, LLC, H. D. SMITH HOLDING
COMPANY, CVS HEALTH
CORPORATION, WALGREENS BOOTS
ALLIANCE, INC. a/k/a WALGREEN CO.,
and WAL-MART INC. f/k/a WAL-MART
STORES, INC.,

                                Defendants.



        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and the Case

Management Order in In re National Prescription Opiate Litigation, No. 1:17-cv-2804 (Dkt. No. 232),

The County of Cuyahoga, Ohio and the State of Ohio Ex Rel. Prosecuting Attorney of Cuyahoga

County, Michael C. O’Malley, (“Plaintiff”) hereby responds to Distributor Defendants’1 First Set of

Interrogatories (the “Interrogatories” and, each individually, a “Interrogatory”), as follows:


                                           OBJECTIONS

        The following objections apply to each Interrogatory. To the extent that certain specific

objections are cited in response to an individual Interrogatory, those specific objections are provided

because they are applicable to that specific Interrogatory and are not a waiver of the objections

applicable to information falling within the scope of such Interrogatory.

        1.      Plaintiff objects to each Interrogatory to the extent they are overly broad, vague,

unduly burdensome, seek information that is not relevant to any party’s claim or defense, or seeks to

impose obligations or require actions beyond those required by the Rules of Civil Procedure, the



1
 The Distributor Defendants are Amerisource Drug Corporation, Cardinal Health, and McKesson
Corporation (collectively, “Distributors”).


                                                   2
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 4 of 28. PageID #: 336356
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


ESI Protocol entered in this matter or the Local Rules of the United States District Court of the

Northern District of Ohio.

        2.      Plaintiff objects to each Interrogatory to the extent they seek information restricted

from dissemination pursuant to court order, statute or regulation, without the entry of an

appropriate Protective Order. Further, Plaintiff’s responses to the Interrogatories are not intended

to waive, and does not constitute any waiver of, any objection to the admissibility, authenticity,

competency or relevance of the information identified.

        3.      These responses are made solely for the purpose of and in relation to this action.

Each answer is given subject to all appropriate objections, which would require the exclusion at trial

of any statement contained provided herein. All such objections and the grounds therefore are

hereby reserved.

        4.      No admission of any nature whatsoever is to be implied or inferred in these

responses. The fact that any of the Interrogatories herein may have been answered should not be

taken as an admission or a concession of the existence of any facts set forth or assumed by the

Interrogatories, or that such answer constitutes evidence of any fact thus set forth or assumed.

        5.      Plaintiff objects to each Request to the extent Plaintiff has not yet completed its

investigation of the facts relating to this action and has not yet completed its preparation for trial.

Accordingly, these responses are necessarily limited in nature, and reflect only that information

known to Plaintiff at this time.

        6.      Plaintiff objects to each Interrogatories to the extent they purport to require Plaintiff

to provide information that is in the public domain or otherwise available to Distributors as easily

from other sources as from Plaintiff.

        7.      Plaintiff objects to each Interrogatory to the extent they purport to state facts,

assumptions, or characterizations that are disputed.



                                                    3
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 5 of 28. PageID #: 336357
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


        8.      Plaintiff objects to each Interrogatory to the extent they seek information more

appropriately obtained through other methods of discovery.

        9.      Plaintiff objects to each Interrogatory to the extent that they seek information that is

proprietary or confidential or that is protected from discovery as attorney work product and

attorney-client communication, information gathered or prepared in anticipation of litigation, the

public interest privilege, law enforcement privilege, public official privilege, and/or by any other

privilege or immunity from disclosure (collectively, “Privileged Information”).

        10.     Plaintiff objects to each Interrogatory to the extent they seek confidential

investigative, personal, or health information in Plaintiff’s possession, custody, or control

(collectively, “Confidential Information”).

        11.     Whenever in the responses Plaintiff employs the phrase “subject to and without

waiving all objections,” Plaintiff is responding to the Interrogatory as it may be narrowed by its

objections and without waiver of any objection.

        12.     Any response stating that Plaintiff will provide information shall be deemed followed

by the phrase “as are within Plaintiff’s possession, custody, or control.”

        13.     Plaintiff objects to each Interrogatory to the extent that they imply the existence of

facts or circumstances that do not or did not exist, and to the extent that it states or assumes legal

conclusions. In providing these objections and responses, Plaintiff does not admit the factual or

legal premise of any Interrogatory.

        14.     Plaintiff objects to each Interrogatory to the extent they seek information that is not

within Plaintiff’s possession, custody, or control, seek documents that do not already exist, or which

purport to require a response by Plaintiff on behalf of an entity or individual other than Plaintiff.

        15.     Plaintiff reserves the right to supplement, revise, correct, or clarify its responses and

objections in the event that additional information becomes available.



                                                    4
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 6 of 28. PageID #: 336358
                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


        16.      Plaintiff intends to complete its responses by the time agreed upon by the parties for

the completion of discovery, or by the date ordered by the Court. Upon request by the requesting

party, Plaintiff is willing to meet and confer regarding its responses to the Interrogatory. All final

decisions regarding whether any information will be withheld pursuant to any objection shall be

made, and notice thereof provided, before the completion of written discovery.


                                            NON-WAIVER

        1.       Plaintiff’s responses are made without waiving its right to object (on the grounds of

relevancy, hearsay, materiality, competency or any other ground) to the use of its responses in any

subsequent stage or proceeding in this Action or any other action.

        2.       If Plaintiff, in response to any Interrogatory, inadvertently produces information that

is or could be the subject of the objections stated herein, such information is not intended to be, nor

is it deemed to be, a waiver of the objections with respect to such information produced or

withheld.

        3.       Plaintiff’s failure to object to a specific Interrogatory on a particular ground or

grounds shall not be construed as a waiver of its rights to object on any additional grounds.

        4.       Plaintiff responds herein based upon information it has been reasonably able to

gather at the time of making these responses. Plaintiff reserves its right to amend and/or to

supplement its objections and responses to the Interrogatories, consistent with further investigation

and discovery.




                                                     5
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 7 of 28. PageID #: 336359
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                          SPECIFIC RESPONSES AND OBJECTIONS

Interrogatory No. 1:

   State the years during which you claim each Distributor Defendant engaged in conduct for
which You seek damages.

Response to Interrogatory No. 1:

    Plaintiff objects that this Interrogatory contains a reference to an ambiguous phrase, “conduct.”

Subject to and without waiving all objections, Plaintiff incorporates the allegations in its second

amended complaint. In addition, Plaintiff’s investigation of its damages caused by the Defendants is

ongoing and will be the subject of fully-supported and detailed expert witness opinion(s) that will be

disclosed in accordance with CMO 1 and the Federal Rules of Civil Procedure. Subject to and

without waiving any objections, Plaintiff responds that every year a given Distributor Defendant

distributed opioids is relevant.

    Plaintiff reserves the right to supplement and amend this response upon further investigation.

Interrogatory No. 2:

    Identify each pharmacy within Your geographical boundaries that placed Suspicious Orders for
Prescription Opioids for each year of the Timeframe.

Response to Interrogatory No. 2:

    Plaintiff objects that this Interrogatory is vague as to “Suspicious Orders.” Plaintiff further

objects to this request in that it calls for information in the Distributors’ possession or control, or

just as available to Distributors from its own business dealings or third-party sources as may be

available to Plaintiff, and thus places an undue burden on Plaintiff to gather.

    Subject to and without waiving all objections, Plaintiff responds as follows:

    As outlined in the Second Amended Complaint, a “suspicious order” is defined by federal law as

orders of an unusual size, orders deviating substantially from a normal pattern and orders of unusual

frequency. Plaintiff recently received the ARCOS data from the Department of Justice, to which the
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 8 of 28. PageID #: 336360
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Distributor Defendants objected, which reveals the orders placed by pharmacies with the

Distributor Defendants dating back to 2006. Hence, once Plaintiff’s analysis of the ARCOS data is

complete, this response will be limited to this timeframe until Plaintiff is able to conduct discovery.

Moreover, the Distributor Defendants owe a duty under federal law to report suspicious orders to

the DEA. So far, the Distributor Defendants have refused to disclose this information.

    Finally, Plaintiff is aware each Distributor Defendant uses its own set of metrics to define a

suspicious order. These metrics have been requested in discovery. As soon as practicable, Plaintiff

intends to define a suspicious order using the Distributor Defendants’ own metrics as well as

national, regional and local metrics from the data available.

    As Plaintiff continues its investigation and analyzes the ARCOS data, this response will be

supplemented as appropriate, and may include expert opinions in accordance with CMO No. 1 and

the Federal Rules of Civil Procedure.

    Further, Plaintiff identifies the highest dispensing opioid pharmacies in Cuyahoga County, which

include but are not limited to:

Pharmacy                           Pharmacy Address                    City

Ohio CVS Stores, L.L.C.            2007 Brookpark Road                 Cleveland

Rite Aid Of Ohio, Inc.             3402 Clark Avenue                   Cleveland

Walgreen Co.                       5400 Pearl Road                     Parma

Walgreen Co.                       16803 Lorain Ave                    Cleveland

Walgreen Co.                       3415 Clark Avenue                   Cleveland

Walgreen Co.                       11701 Detroit Ave                   Lakewood

Ohio CVS Stores, L.L.C.            11223 Granger Rd.                   Garfield

Ohio CVS Stores, L.L.C.            212 West Bagley Road                Berea




                                                   7
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 9 of 28. PageID #: 336361
                          CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Pharmacy                   Pharmacy Address           City

Walgreen Co.               4265 State Rd.             Cleveland

Walgreen Co.               22401 Lake Shore Blvd      Euclid

Ohio CVS Stores, L.L.C.    3171 West Blvd.            Cleveland

Ohio CVS Stores, L.L.C.    23351 Lorain Road          North Olmstead

Walgreen Co.               6300 Pearl Rd.             Parma Heights

Ohio CVS Stores, L.L.C.    13777 Pearl Rd.            Strongsville

Discount Drug Mart         6476 York Road             Parma Heights

Ohio CVS Stores, L.L.C.    10022 Madison Avenue       Cleveland

Ohio CVS Stores, L.L.C.    8000 Euclid Ave.           Cleveland

Ohio CVS Stores, L.L.C.    22001 Lakeshore Blvd       Euclid




                                            8
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 10 of 28. PageID #: 336362
                              CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Pharmacy                      Pharmacy Address           City

Rite Aid Of Ohio, Inc.        5795 State Road            Parma

Walgreen Co.                  6410 Broadway Avenue       Cleveland

Ohio CVS Stores, L.L.C.       11706 Clifton Boulevard    Lakewood

Walgreen Co.                  12777 Rockside Road        Garfield Heights

Walgreen Co.                  7260 Pearl Road            Middleburg Heights

Rite Aid Of Ohio, Inc.        7109 Harvard Avenue        Cleveland

Ohio CVS Stores, L.L.C.       6301 Harvard Avenue        Cleveland

Walgreen Co.                  15609 Lake Shore Blv       Cleveland

Discount Drug Mart #31        Kevin M Ryan, Rph          Euclid

Ohio CVS Stores, L.L.C.       14372 Snow Rd              Brook Park

Walgreen Co.                  20485 Euclid Ave           Euclid

Walgreen Co.                  520 Broadway Ave           Bedford

Walgreen Co.                  127 E Pleasant Valley Rd   Seven Hills

Ohio CVS Stores, L.L.C.       4240 Pearl Rd              Cleveland

Discount Drug Mart Inc. #5    15412 Detroit Ave          Lakewood

Rite Aid Of Ohio, Inc.        6512 Franklin Boulevard    Cleveland

Rite Aid Of Ohio, Inc.        15149 Snow Road            Brook Park

Walgreen Co.                  14525 Euclid               East Cleveland

Discount Drug Mart #28        8191 Columbia Road         Parma Heights

Discount Drug Mart #41        13123 Detroit Avenue       Lakewood

Discount Drug Mart Inc. #15   17815 Puritas Avenue       Cleveland

Discount Drug Mart Inc. #17   4170 Fulton Road           Cleveland
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 11 of 28. PageID #: 336363
                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Pharmacy                           Pharmacy Address                    City

Discount Drug Mart Inc. #8         24485 Lorain Rd                     North Olmsted

Discount Drug Mart Inc. #10        27300 Detroit Rd                    Westlake

Discount Drug Mart #18             6160 Brecksville Road               Independence

Discount Drug Mart                 6148 Dunham Road                    Maple Heights

Discount Drug Mart                 5500 Wallings Road                  North Royalton

Discount Drug Mart Inc. #21        Store #21                           3889 East 71st Street

Discount Drug Mart, Inc.           13919 Prospect Rd                   Strongsville

Discount Drug Mart #82             765 Alpha Dr                        Highland Heights


    Plaintiff reserves the right to supplement and amend this response upon further investigation.

Interrogatory No. 3:

    Identify each pharmacy within Your geographical boundaries that diverted or wrongfully
dispensed Prescription Opioids for each year of the Timeframe.
Response to Interrogatory No. 3:

    Subject to and without waiving all objections, Plaintiff further responds: See Response to

Interrogatory No. 2.

    Plaintiff reserves the right to supplement and amend this response upon further investigation.

Interrogatory No. 4:

   Identify Your past or present employees or representatives, for each year of the Timeframe, with
knowledge regarding the wrongful abuse, use, misuse, prescribing, dispensing, sale, distribution,
addiction to, and/or diversion of (a) Prescription Opioids or (b) other opioids.

Response to Interrogatory No. 4:

    Plaintiff objects that this Interrogatory is vague, overly broad and unduly burdensome to the

extent it requests Plaintiff to identify each past or present employees or representatives. Further
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 12 of 28. PageID #: 336364
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


objecting, the Interrogatory contains a reference to several ambiguous phrases, namely, “wrongful

abuse,” “misuse,” “diversion,” and “other opioids.”

    Subject to and without waiving all objections, Plaintiff responds as follows: Plaintiff identifies,

the following individuals, which includes but is not limited to:

Name                                                  Department
Thomas P. Gilson, M.D.                                County Medical Examiner
Clifford Pinkey                                       County Sheriff
Ken Mills                                             County Sheriff’s Department Director of
                                                      Regional Corrections
James Gutierrez                                       County Prosecutor’s Office

Hon. John J. Russo                                    County Administrative Judge; Common Pleas
                                                      Court
Scott S. Osiecki                                      ADAMHS Board Executive Director
Walter Parfejewiec                                    Director Health and Human Services

David Merriman                                        Assistant Director Health and Human Services

Hugh Shannon                                          Administrator of the Medical Examiner’s Office
Terry Allan, MPH                                      County Board of Health Commissioner
Vince Caraffi                                         Chair of County Opiate Task Force

    Further, Plaintiff has produced organizational charts and a custodian list that identifies such

employees or representatives. In addition, the table provided below identifies document custodians,

employees, or representatives who are likely to have the subject knowledge.

Department                          Custodian                           Title
Health and Human Services           Dave Merriman                       Assistant Director
Health and Human Services           Walter Parfejewiec                  Director
Economic Opportunity and            Matt Carroll                        Chief Economic Opportunity
Growth                                                                  and Growth Officer
Office of Early Childhood           Rebekah Dorman                      Director
Health and Human Services –         Cynthia Weiskittel                  Director
Family Services
Office of Homeless Services         Ruth Gillette                       Director
Office of Child Support             Deborah Watkins                     Director
Benefits and Compensation           Holly Woods                         Director
Justice – Medical Examiner          Hugh Shannon                        Administrator
Justice – Public Safety and         Brandy Carney                       Director
Justice Services



                                                   11
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 13 of 28. PageID #: 336365
                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Department                          Custodian                            Title
Justice – Public Safety and         Melinda (Lindy) Burt                 Deputy Director
Justice Services
Operations – Fiscal Office          Maggie Keenan                        Director

Operations – Fiscal Office          Wendy Feinn                          Budget Analyst
Operations – Treasurer              Patricia Cooney                      Deputy Treasurer
Operations – OBM                    Maggie Kennan                        Director
Drug Court                          Molly Lechler                        Drug Court Coordinator
Corrections Planning Board          Martin Murphy                        Assistant Director
Corrections                         Brian Ely                            Substance Abuse Case Manager
Drug Lab                            Shannon Gray                         Lab Manager
County Medical Examiner             Thomas Gilson, M.D.                  Medical Examiner
County Opiate Task Force            Vince Caraffi                        Supervisor
Corrections                         Ken Mills                            Director

    Plaintiff reserves the right to supplement and amend this response upon further investigation. In

addition, discovery is ongoing and will be the subject of fully-supported and detailed expert witness

opinion(s) that will be disclosed in accordance with CMO 1 and the Federal Rules of Civil

Procedure.

RFP No. 5:

    Identify all persons in Your government entity for each year of the Timeframe, who held the
position of mayor, city councilmember, county commissioner, county supervisor, county executive,
chief health officer, county auditor, county recorder, county sheriff, county coroner or medical
examiner, county treasurer, chief accountant, chief financial officer, police chief, correctional facility
supervisor, warden, deputy warden, fire chief, or the equivalent of such titles. Include as part of your
response each person’s name, position, and period of time during which he or she held the position.

Response to Interrogatory No. 5:

    Plaintiff objects that this Interrogatory is vague, overly broad and unduly burdensome to the

extent it requests Plaintiff to identify all persons who held the position of mayor, city council

member, county commissioner, county supervisor, county executive, chief health officer, county

auditor, county recorder, county sheriff, county coroner or medical examiner, county treasurer, chief

accountant, chief financial officer, police chief, correctional facility supervisor, warden, deputy

warden, fire chief, or the equivalent of such titles. Plaintiff further objects to this Interrogatory to



                                                    12
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 14 of 28. PageID #: 336366
                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


the extent that the requested information is available to the public and to the Distributors through

internet sources, and thus responding to the Interrogatory imposes an undue burden on Plaintiff.

    Subject to and without waiving all objections, Plaintiff answers as follows: Plaintiff has produced

organizational charts for each Plaintiff jurisdiction that respond to this Interrogatory and refer

Distributors to publicly available information on each plaintiff’s website as referenced in response to

Interrogatory No. 9.

    Further, Plaintiff identifies the following:

Name                                Position                                  Period of Time
                                                                              Position Held
Armond D. Budish                    County Executive                          2015 - Present
Ed FitzGerald                       County Executive                          2011 - 2015
Laura Roche                         Executive Assistant to County Exec.       1998 - Present
Earl Leiken                         Chief of Staff to County Exec.            2018 - Present
Sharon Sobol Jordan                 Chief of Staff to County Exec.            2014 - 2018
Sharon Cole                         Deputy Chief of Staff to County           2010 - 2014
                                    Exec.
Nailah Byrd                         Clerk of Courts                           2015 – Present
Nailah Byrd                         Inspector General                         2011 - 2014
Andrea Rocco                        Clerk of Courts                           2013 - 2015
Gerald Fuerst                       Clerk of Courts                           1976 - 2012
Nora Hurley                         Deputy Chief Director of Law              2011 - Present
Robert Triozzi                      Law Director                              2015 - Present
Majeed Maklhouf                     Law Director                              2011 - 2015
Ben Chojnacki                       Assistant Law Director                    2016 - Present
Michael O’Malley                    County Prosecutor                         2017 - Present
Timothy McGinty                     County Prosecutor                         2012 - 2016
Bill Mason                          County Prosecutor                         1999 - 2012
Nan Baker                           City Council Member; District 1           2017 - Present
David Greenspan                     City Council Member; District 1           2011 - 2017
Dale Miller                         City Council Member; District 2           2011 - Present
Dan Brady                           President; City Council Member;           2011 - Present
                                    District 3
Scott Tuma                          City Council Member; District 4           2017 - Present
Chuck Germana                       City Council Member; District 4           2011 - 2017
Michael J. Gallagher                City Council Member; District 5           2011 - Present
Jack Schron                         City Council Member; District 6           2011 - Present
Yvonne M. Conwell                   City Council Member; District 7           2011 - Present
Pernel Jones Jr                     VP; City Council Member; District 8       2011 - Present
Shontel Brown                       City Council Member; District 9           2015 - Present



                                                   13
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 15 of 28. PageID #: 336367
                           CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Name                       Position                                  Period of Time
                                                                     Position Held
Ellen Connolly             City Council Member; District 9           2011 - 2014
Michael J. Houser          City Council Member; District 10          2018 – Present
Michael J. Houser          Special Assistant to the Chief of Staff   2015 - 2017
Anthony Hairston           City Council Member; District 10          2014 - 2017
Julian Rogers              City Council Member; District 10          2011 - 2013
Sunny M. Simon             City Council Member; District 11          2011 - Present
Matt Carroll               Interim Director of Health and            2018 - Present
                           Human Services
Matt Carroll               Chief Economic Growth and                 2016 – Present
                           Opportunity Officer
Matt Carroll               Chief of Staff to County Executive        2011 - 2014
Thomas Pristow             Director of Health and Human              2016 - 2017
                           Services
Rick Werner                Interim Director of Health and            2015 - 2016
                           Human Services
Pat Rideout                Director of Health and Human              2011 - 2015
                           Services
Cory A. Swaisgood          Director of Internal Auditing             2016 – Present
Cory A. Swaisgood          Internal Audit Manager                    2014-2016
Cory A. Swaisgood          Staff Auditor                             2013- 2014
Valerie J. Harry           Director of Internal Auditing             2012 - 2015
Rose Karam                 Internal Audit Manager                    2017 - Present
Brian O’Malley             County Recorder                           Present
Clifford Pinkney           County Sheriff                            2015 – Present
Clifford Pinkney           Chief Deputy Cuyahoga County              2013 – 2015
                           Sheriff’s Office
Clifford Pinkney           Lieutenant Cuyahoga County                1991 - 2013
                           Sheriff’s Office
Frank Bova                 Interim County Sheriff                    2013 – 2015
Bob Reid                   County Sheriff                            2009 - 2013
Gerald McFaul              County Sheriff                            1977 - 2009
Dr. Thomas Gilson          Medical Examiner                          2011 - Present
Mark Griffin               Inspector General                         2015 - Present
Chris Murray               County Treasurer                          2015 – Present
Chris Murray               Director of Budget and Management         2014 - 2015
                           of Cuyahoga County
William Sheehan            Interim County Treasurer                  2014-2015
William Sheehan            Senior Financial Reporting                2008 - 2014
                           Administrator of Cuyahoga county
                           Office of Budget and Management
Richard Sensenbrenner      County Treasurer                          2011 - 2012
Eliza Wing                 Chief Communications Officer              2015 - Present
Mary Louise Madigan        Interim Communications Director           2015
Mary Louise Madigan        Director of Communications                2015 - Present


                                          14
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 16 of 28. PageID #: 336368
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


Name                                Position                                   Period of Time
                                                                               Position Held
Dennis G. Kennedy                   County Fiscal Officer                      2015 - Present
Mark Perks                          County Fiscal Officer                      2013 – 2015
Mark Perks                          County Treasurer                           2012 – 2013
Mark Perks                          Chief Fiscal Officer, Director of          2011 - 2012
                                    Special Projects
Wade Steen                          County Fiscal Officer                      2011- 2013
Michael Dever                       Director of Public Works                   2015 – Present
Michael Dever                       Maintenance Administrator                  2011 - 2015
Bonnie Teeuwen                      Director of Public Works                   2011 - 2015
Kenneth V. Mills                    Director of Regional Corrections and       2014 - Present
                                    Justice Services
Eric J. Ivey                        Associate Warden                           2017 - Present
Bob Perko                           Fire Chief of Cuyahoga County Fire         2018 - Present
                                    Chief’s Association
Doug Zook                           Interim Fire Chief of Cuyahoga             2014 - 2017
                                    County Fire Chief’s Association

    Plaintiff reserves the right to supplement and amend this response upon further investigation.

Interrogatory No. 6:

    Identify all Your residents, for each year of the Timeframe, who experienced drug overdose(s),
separately identifying those drug overdoses caused by (a) Prescription Opioids (b) other opioids, or
(c) other drugs. Include as part of your response whether each drug overdose was fatal.

Response to Interrogatory No. 6:

    Plaintiff objects to this Interrogatory to the extent that it calls for disclosure of Privileged and

Confidential Information. Also, the Interrogatory is overly broad and unduly burdensome and seeks

information beyond Plaintiff’s possession, custody, and control.

    Plaintiff objects to the extent this Interrogatory calls for Confidential Information not in the

Plaintiff’s possession and/or protected by privacy laws, including but not limited to, the federal

Health Insurance Portability and Accountability Act (“HIPAA”). These objections were set forth in

the June 11, 2018 letter from David Ackerman and this topic was addressed in Special Master

Cohen’s June 11, 2018 Discovery Ruling No. 1. Therefore, Plaintiff declines to produce this

information pursuant to this Interrogatory. Plaintiff will supplement this response once the issue of



                                                    15
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 17 of 28. PageID #: 336369
                                    CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


confidentiality is resolved and will produce documents related to non-confidential public health

statistics as set forth in Plaintiff’s written responses to document requests in this litigation.

    Subject to and without waiving all objections, Plaintiff answers as follows: Plaintiff directs

Distributors to the Cuyahoga County Medical Examiner’s Office 2016 Final Drug Deaths Report

which was previously produced in this litigation and identifies date related to drug overdoses which

is responsive to this Interrogatory. For example, the Cuyahoga County Medical Examiner’s Office

2016 Final Drug Deaths Report includes the following:




    Plaintiff reserves the right to supplement and amend this response upon further investigation.

Interrogatory No. 7:



                                                    16
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 18 of 28. PageID #: 336370
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


    Identify all Your residents who became addicted to a Prescription Opioid during the Timeframe.
Response to Interrogatory No. 7:

    Subject to and without waiving all objections, Plaintiff further responds: See Response to

Interrogatory No. 6.

    Plaintiff reserves the right to supplement and amend this response upon further investigation.

Interrogatory No. 8:

    Identify all persons who wrongfully manufactured, sold, possessed, used, distributed, prescribed,
or dispensed Prescription Opioids within Your geographical boundaries during the Timeframe.


Response to Interrogatory No. 8:

    Plaintiff objects to this Interrogatory because some information responsive to this request is

publicly available to Distributors, and thus it would impose an undue burden on Plaintiff to gather

and disclose it to Distributors.

    Subject to and without waiving all objections, Plaintiff answers as follows: Plaintiff incorporates

its responses to Interrogatory Nos. 2 and 3. Further, Plaintiff incorporates the allegations in its

Second Amended Complaint. To the extent this Interrogatory requests identification of potential

tortfeasors, Plaintiff refers to the Defendants to the Second Amended Complaint.

    Also, Plaintiff refers Defendants to the indictments produced in this litigation:

CUYAH_000020854 - CUYAH_000088895 and CUYAH_000097414, which identifies charges

brought by the Cuyahoga County Prosecutor’s Office.

    Plaintiff reserves the right to supplement and amend this response upon further investigation.

Interrogatory No. 9:

   Identify Your efforts during each year of the Timeframe to address public health and safety
hazards that You attribute to the wrongful conduct of Distributor Defendants. Include as part of
your response information concerning Your expenditure of taxpayer dollars to fund these efforts.


Response to Interrogatory No. 9:


                                                   17
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 19 of 28. PageID #: 336371
                                  CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER



   Plaintiff objects that this Interrogatory is overly broad and unduly burdensome and seeks

information beyond Plaintiff’s possession, custody, and control. Further objecting, the Interrogatory

contains a reference to several undefined terms and phrases, namely, “safety hazards” and “wrongful

conduct.”

   Subject to and without waiving all objections, Plaintiff answers as follows: Plaintiff’s

investigation of this matter is ongoing, but at this time identifies the following departments and

programs, which include but are not limited to:

            Cuyahoga County Opiate Task Force;

            ADAMHS Board of Cuyahoga County;

            Cuyahoga County Opiate Collaborative/Project DAWN

            Cuyahoga County Heroin Initiative;

            Cuyahoga County Drug Court;

            Cuyahoga County Prosecutor’s Office;

            Cuyahoga County Homeless Services;

            Cuyahoga County Foster Care Services;

            Cuyahoga County Emergency Medical Services;

            Cuyahoga County Sherriff’s Offices;

            Cuyahoga County Health Department;

            Cuyahoga County Medical Examiner’s Office;

            Cuyahoga County Health and Human Services/Children and Family Services; and

            Cuyahoga County Jail/Regional Corrections.

         Also, Plaintiff has already produced budget information identifying such expenditure, such

   as:


                                                   18
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 20 of 28. PageID #: 336372
                           CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


       CUYAH_000000001- CUYAH_000000064

       CUYAH_000000065 - CUYAH_000000132

       CUYAH_000000133 - CUYAH_000000199

       CUYAH_000000200 - CUYAH_000000718

       CUYAH_000000719 - CUYAH_000000747

       CUYAH_000000748 - CUYAH_000000819

       CUYAH_000000820 - CUYAH_000001135

       CUYAH_000001136 - CUYAH_000001646

       CUYAH_000001647 - CUYAH_000001730

       CUYAH_000001731 - CUYAH_000001811

       CUYAH_000001812 - CUYAH_000001874

       CUYAH_000001875 - CUYAH_000001931

       CUYAH_000001932 - CUYAH_000002439

       CUYAH_000002440 - CUYAH_000002502

       CUYAH_000002503 - CUYAH_000002563

       CUYAH_000002564 - CUYAH_000003072

       CUYAH_000003073 - CUYAH_000003099

       CUYAH_000003100 - CUYAH_000003172

       CUYAH_000003173 - CUYAH_000003436

       CUYAH_000003437 - CUYAH_000003508

       CUYAH_000003509 - CUYAH_000004006

       CUYAH_000004007 - CUYAH_000004036

       CUYAH_000004037 - CUYAH_000004294

       CUYAH_000004295 - CUYAH_000004374



                                       19
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 21 of 28. PageID #: 336373
                           CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


       CUYAH_000004375 - CUYAH_000004523

       CUYAH_000004524 - CUYAH_000004552

       CUYAH_000004553 - CUYAH_000004798

       CUYAH_000004799 - CUYAH_000004968

       CUYAH_000004969 - CUYAH_000005145

       CUYAH_000005146 - CUYAH_000005327

       CUYAH_000005328 - CUYAH_000005496

       CUYAH_000005497 - CUYAH_000005739

       CUYAH_000005740 - CUYAH_000006329

       CUYAH_000006330 - CUYAH_000006573

       CUYAH_000006574 - CUYAH_000006844

       CUYAH_000006845 - CUYAH_000006986

       CUYAH_000006987 - CUYAH_000007216

       CUYAH_000007217 - CUYAH_000007427

       CUYAH_000007428 - CUYAH_000007466

       CUYAH_000007467 - CUYAH_000007687

       CUYAH_000007688 - CUYAH_000007711

       CUYAH_000007712 - CUYAH_000007929

       CUYAH_000007930 - CUYAH_000008002

       CUYAH_000008003 - CUYAH_000008640

       CUYAH_000008641 - CUYAH_000008680

       CUYAH_000008681 - CUYAH_000008907

       CUYAH_000008908 - CUYAH_000009206

       CUYAH_000009207 - CUYAH_000009269



                                       20
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 22 of 28. PageID #: 336374
                           CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


       CUYAH_000009270 - CUYAH_000009290

       CUYAH_000009291 - CUYAH_000009316

       CUYAH_000009317 - CUYAH_000009326

       CUYAH_000009327 - CUYAH_000009345

       CUYAH_000009346 - CUYAH_000009367

       CUYAH_000009368 - CUYAH_000009613

       CUYAH_000009614 - CUYAH_000009831

       CUYAH_000010261 - CUYAH_000010288

       CUYAH_000012351 - CUYAH_000014730

       CUYAH_000010320 - CUYAH_000010329

       CUYAH_000010330 - CUYAH_000010367

       CUYAH_000010368 - CUYAH_000010423

       CUYAH_000010424 - CUYAH_000010826

       CUYAH_000010827 - CUYAH_000010845

       CUYAH_000010846 - CUYAH_000010896

       CUYAH_000010897 - CUYAH_000010909

       CUYAH_000010910 - CUYAH_000011080

       CUYAH_000011081 - CUYAH_000011251

       CUYAH_000011252 - CUYAH_000011262

       CUYAH_000011263 - CUYAH_000011318

       CUYAH_000011319 - CUYAH_000011347

       CUYAH_000017939 - CUYAH_000018600

       CUYAH_000011403 - CUYAH_000011443

       CUYAH_000011444 - CUYAH_000011492



                                       21
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 23 of 28. PageID #: 336375
                           CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


       CUYAH_000011493 - CUYAH_000011525

       CUYAH_000011526 - CUYAH_000011570

       CUYAH_000011596 - CUYAH_000011615

       CUYAH_000011616 - CUYAH_000011623

       CUYAH_000011642 - CUYAH_000011797

       CUYAH_000011799 - CUYAH_000011884

       CUYAH_000011885 - CUYAH_000011982

       CUYAH_000011997 - CUYAH_000012044

       CUYAH_000012351 - CUYAH_000012362

       CUYAH_000012363 - CUYAH_000012370

       CUYAH_000012371 - CUYAH_000012382

       CUYAH_000012383 - CUYAH_000012396

       CUYAH_000012397 - CUYAH_000012408

       CUYAH_000012409 - CUYAH_000012420

       CUYAH_000012421 - CUYAH_000012432

       CUYAH_000012433 - CUYAH_000012444

       CUYAH_000012445 - CUYAH_000012456

       CUYAH_000012457 - CUYAH_000012480

       CUYAH_000012481 - CUYAH_000012496

       CUYAH_000012497 - CUYAH_000012512

       CUYAH_000012513 - CUYAH_000012528

       CUYAH_000012529 - CUYAH_000012544

       CUYAH_000012545 - CUYAH_000012560

       CUYAH_000012561 - CUYAH_000012576



                                       22
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 24 of 28. PageID #: 336376
                           CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


       CUYAH_000012577 - CUYAH_000012592

       CUYAH_000012593 - CUYAH_000012594

       CUYAH_000012595 - CUYAH_000012943

       CUYAH_000013464 - CUYAH_000013479

       CUYAH_000013806 - CUYAH_000013812

       CUYAH_000013813 - CUYAH_000013817

       CUYAH_000013818 - CUYAH_000013820

       CUYAH_000018030 - CUYAH_000018037

       CUYAH_000018038 - CUYAH_000018066

       CUYAH_000018067 - CUYAH_000018072

       CUYAH_000018073 - CUYAH_000018075

       CUYAH_000018076 - CUYAH_000018078

       CUYAH_000018079 - CUYAH_000018115

       CUYAH_000018116 - CUYAH_000018118

       CUYAH_000018119 - CUYAH_000018141

       CUYAH_000018142 - CUYAH_000018154

       CUYAH_000018155 - CUYAH_000018161

       CUYAH_000018162 - CUYAH_000018174

       CUYAH_000018175 - CUYAH_000018177

       CUYAH_000018178 - CUYAH_000018178

       CUYAH_000018179 - CUYAH_000018179

       CUYAH_000018180 - CUYAH_000018199

       CUYAH_000018200 - CUYAH_000018219

       CUYAH_000018220 - CUYAH_000018232



                                       23
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 25 of 28. PageID #: 336377
                                 CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


       CUYAH_000018233 - CUYAH_000018248

       CUYAH_000018249 - CUYAH_000018264

       CUYAH_000018265 - CUYAH_000018277

       CUYAH_000018278 - CUYAH_000018281

       CUYAH_000018282 - CUYAH_000018294

       CUYAH_000018295 - CUYAH_000018322

       CUYAH_000018323 - CUYAH_000018327

       CUYAH_000018328 - CUYAH_000018355

       CUYAH_000018356 - CUYAH_000018360

       CUYAH_000018361 - CUYAH_000018488

       CUYAH_000018489 - CUYAH_000018509

       CUYAH_000018510 - CUYAH_000018533

       CUYAH_000018534 - CUYAH_000018549

       CUYAH_000018550 - CUYAH_000018577

       CUYAH_000018578 - CUYAH_000018582

       CUYAH_000018613 - CUYAH_000018627

       CUYAH_000018676 - CUYAH_000018726

       CUYAH_000020380 - CUYAH_000020439

   Plaintiff reserves the right to supplement and amend this response upon further investigation.

Interrogatory No. 10:

    Identify each instance for each year of the Timeframe in which You notified a state or federal
official or agency (including but not limited to the United Stated Drug Enforcement Agency,
a United States Attorney or representative thereof, Ohio Department of Medicaid and its
constituent providers, Ohio Department of Public Safety, Ohio Automated Rx Reporting System,
State of Ohio Board of Pharmacy, and State Medical Board of Ohio), insurer, third party payer, or
pharmacy benefit manager of suspected diversion, improper or excessive dispensing, improper
prescribing, unlawful sale, or other suspected wrongdoing related to Prescription Opioids.


                                                24
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 26 of 28. PageID #: 336378
                                   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER



Response to Interrogatory No. 10:

    Plaintiff objects that this Interrogatory is overly broad and unduly burdensome and seeks

information beyond Plaintiff’s possession, custody, and control. Further objecting, the Interrogatory

contains a reference to several undefined terms and phrases, namely, “excessive dispensing” and

“improper prescribing.”

    Subject to and without waiving all objections, Plaintiff will conduct a reasonable and diligent

search for and, if such information is in Plaintiff’s possession, custody, or control, will produce

documents that identify such instances.

RFP No. 11:

    Identify each investigation, arrest, or prosecution within Your geographical boundaries for each
year of the Timeframe that involved (a) a Prescription Opioid or (b) other opioids. Include as part of
your response any information or evidence that connects each investigation, arrest, or prosecution
to a Prescription Opioid distributed by Distributor Defendants.


Response to RFP No. 11:

    Plaintiff objects that this Interrogatory is overly broad and unduly burdensome and seeks

information beyond Plaintiff’s possession, custody, and control. Subject to and without waiving all

objections, Subject to and without waiving all objections, Plaintiff further responds: See Response to

Interrogatory No. 8




                                                   25
Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 27 of 28. PageID #: 336379



 Dated: June 20, 2018

                                            Respectfully submitted,

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Case: 1:17-md-02804-DAP Doc #: 2212-26 Filed: 08/13/19 28 of 28. PageID #: 336380




                                 CERTIFICATE OF SERVICE

   I, Salvatore C. Badala, certify that on this 20th day of June 2018, I caused the foregoing to be

served via electronic mail on Defendant’s Liaison Counsel pursuant to the Case Management Order.

See Dkt. No. 232.

                                                       s/Salvatore C. Badala
